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  Judge Thomas Parker
  167 N Main Street #242
  Memphis, TN. 38103

  Janet Barcroft
  406 Wandering Trail
  Franklin, TN. 37067

  May 22, 2023

  Dear Judge Parker,

  I ask that you prayerfully consider your decision on SB003.

  Please consider the following:

     •    The purpose of SB003 is to protect those that cannot protect themselves
     •     Drag queens and their immoral shows invade the innocence of children. This is
          tantamount to child endangerment.
     •   · Children's exposure to sexual images and movements have lasting impressions not
           easily erased.
     •     Adults have the liberty to watch drag queens and their shows.




  Thank you,

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  Janet Barcroft
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Ms Janet H Barcroft
406 Wandering Tri.
Franklin, TN 37067




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